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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


DIGITAL TECHNOLOGIES LLC,

                            Plaintiff,
                                                     Civil Action No. 2:15-cv-998
                v.
                                                     JURY TRIAL DEMANDED
NVIDIA CORPORATION,

                            Defendant.


                      CORPORATE DISCLOSURE STATEMENT

        Plaintiff Digital Technologies LLC is a Texas limited liability company. Digital

Technologies LLC has no parent corporation, and no publicly held company owns 10% or more

of its stock.
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       DATED June 8, 2015.                           Respectfully submitted,


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                                                     ATTORNEYS FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of June, 2015, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas,
Marshall Division, using the electronic case filing system of the court. The electronic case filing
system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in
writing to accept this Notice as service of this document by electronic means.

                                             /s/ Stevenson Moore___
                                             Stevenson Moore
